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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

   This Document Relates to All Actions

                                                ORDER

            THIS CAUSE came before the Court at the April 19, 2021 Initial Conference [ECF No.

   202] regarding case management matters. Among other topics, the parties discussed potential

   groupings of related actions, the briefing schedule, and procedures for appointment of lead

   counsel. For the reasons stated in open court and to better manage the orderly progress of the case,

   it is

            ORDERED as follows:

            1.    With respect to the federal securities actions, the Court has pending before it two

                  motions to appoint Lead Plaintiffs and Lead Counsel [ECF Nos. 26, 144], in

                  accordance with the Private Securities Litigation Reform Act of 1995 (“PSLRA”),

                  15 U.S.C. § 78u-4(a)(3)(B). Any responses in opposition to those motions shall be

                  filed on or before April 26, 2021, and replies are due on or before May 3, 2021.

            2.    With respect to the non-federal securities actions, if the parties reach an agreement

                  regarding lead counsel, they will file a single motion to appoint lead counsel,

                  detailing the agreed-upon organization and structure of counsel, on or before April

                  23, 2021.
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         3.      If the parties involved in the non-federal securities actions fail to reach an

                 agreement, they will proceed as follows:

                 a.      A party seeking to be appointed lead counsel shall submit its application (10

                         pages maximum) by 1:00 p.m. EST on April 26, 2021 to attorney Rachel

                         Wagner Furst of the law firm Grossman Roth Yaffa Cohen, P.A., who will

                         consolidate all applications in one single filing to be submitted to the Court

                         that same day.

                 b.      Each applicant shall submit its supporting exhibits by separately filing them

                         on the docket. The exhibits shall be properly labeled and identified on the

                         Court’s electronic case management system.

                 c.      No response memoranda to the consolidated leadership applications are

                         permitted.

         4.      Following the Court’s resolution of these issues and appointment of leadership

                 counsel, the Court will set a status conference to address the filing of amended

                 and/or consolidated complaint(s) and the progress of the case.

         5.      No discovery is permitted until the amended complaint(s) are filed. Any request

                 by Defendants to stay discovery propounded after amended pleadings are filed must

                 be made by motion and jointly filed by Defendants wishing to join the motion.

         DONE AND ORDERED in Miami, Florida, this 19th day of April, 2021.



                                                            _________________________________
                                                            CECILIA M. ALTONAGA
                                                            UNITED STATES DISTRICT JUDGE

   cc:   counsel of record;
         Pro Se Plaintiffs


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